Case 1:22-cv-01092-GBW          Document 62   Filed 12/09/24   Page 1 of 2 PageID #: 696




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

AMERICAN GENERAL LIFE                    )
INSURANCE COMPANY,                       )
                                         )
         Plaintiff,                      )
                                         )
v.                                       )      CASE NO.: 1:22-1092-GBW
                                         )
WILMINGTON TRUST,                        )
NATIONAL ASSOCIATION,                    )
                                         )
         Defendant.                      )


                  NOTICE OF SERVICE OF EXPERT DISCLOSURES


          Plaintiff/Counter-Defendant American General Life Insurance Company

(“American General”) pursuant to Fed. R. Civ. P 26, hereby gives notice to this

Court of its service via electronic mail and U.S. Mail on December 6, 2024 of its

Rule 26 Expert Disclosure and Report of Jim Toole, FSA, CERA, MAAA.



Dated: December 6, 2024,

                                         /s/Sean J. Bellew
                                         Sean J. Bellew (Bar ID No. 4072)
                                         2961 Centerville Road, Suite 302
                                         Wilmington, DE 19808
                                         T: (302) 353-4951
                                         sjbellew@bellewllc.com
                                         Christopher C. Frost (pro hac vice)
                                         Elizabeth S. Pilcher (pro hac vice)
                                         MAYNARD NEXSEN P.C.


123757994.1-(Wynde Sanders)
Case 1:22-cv-01092-GBW        Document 62   Filed 12/09/24   Page 2 of 2 PageID #: 697




                                       1901 Sixth Avenue North, Suite 1700
                                       Birmingham, AL 35203
                                       T: (205) 254-1000
                                       F: (205) 254-1999
                                       cfrost@maynardnexsen.com
                                       epilcher@maynardnexsen.com

                                       Attorneys for American         General    Life
                                       Insurance Company




123757994.1-(Wynde Sanders)
